                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN

In the Matter of:
IOTT, KEVIN ROLAND                                         Case No. 09-48174
IOTT, LAURA SUE                                            Chapter 7
                                                           Honorable Steven W. Rhodes

                     Debtor(s)                     /

                                 CERTIFICATE OF DISTRIBUTION

        Now comes Timothy J. Miller, trustee of the above-named estate, and hereby states the

following:

1.      That the trustee has fully administered this estate by either liquidating or abandoning all

property of the estate.

2.      That the trustee has collected $1,500.19, and disbursed $267.61, leaving a balance on

hand of $1,232.58, which funds are lodged in an account in The Bank of New York Mellon;

3.      That, of the funds on hand, the following distribution should be made:

Chapter 7 Admin. Expenses
                                                                   Amount                      Amount
                                                                   Allowed      % Paid       to be Paid
Schneider Miller, P.C.     Attorney for Trustee Expenses              90.00      79.45           71.51
                           (Trustee Firm)p/o/ 3/12/12
Timothy J. Miller          Trustee Expenses p/o/ 3/12/12              85.00      79.45           67.54
Schneider Miller, P.C.     Attorney for Trustee Fees               1,000.00      79.45          794.54
                           (Trustee Firm) p/o/ 3/12/12
Timothy J. Miller          Trustee Compensation p/o/                375.05       79.45          297.99
                           3/12/12
                                                 Subtotals: $      1,550.05              $    1,231.58


Secured Claims
                                                                   Amount                      Amount
Claim #                       Name                                 Allowed      % Paid       to be Paid
4       Monroe Bank & Trust                                            0.00     100.00             0.00
10      Kevin and Laura Iott exemptions                                1.00     100.00             1.00
                                      Secured Subtotals: $             1.00              $         1.00




     09-48174-swr    Doc 79       Filed 03/12/12   Entered 03/12/12 13:49:39         Page 1 of 2
Unsecured Claims - Timely
                                                                  Amount                    Amount
Claim #                         Name                              Allowed    % Paid       to be Paid
1         American Infosource Lp As Agent for                       291.76     0.00             0.00
2         Consultants Lab                                           225.37     0.00             0.00
3         Chase Bank USA NA                                      10,392.00     0.00             0.00
5         Wettle, Brent and Heather                              87,500.00     0.00             0.00
6         Capital Recovery III LLC                                3,495.91     0.00             0.00
7 -2      WORLD'S FOREMOST BANK                                  18,457.15     0.00             0.00
8         Toledo Hospital                                         3,969.40     0.00             0.00
                                                 Subtotals: $   124,331.59            $         0.00

Unsecured Claims - Untimely
                                                                  Amount                    Amount
Claim #                     Name                                  Allowed    % Paid       to be Paid
9       American Express Bank FSB                                  703.86      0.00             0.00
                                                 Subtotals: $      703.86             $         0.00

                                    Unsecured Subtotals: $      125,035.45            $        0.00

                                                Total Paid:                           $    1,232.58

        The undersigned trustee certifies under penalty of perjury that the foregoing is true and
correct to the best of his knowledge.


Date: March 12, 2012                            /s/ Timothy J. Miller
                                                Timothy J. Miller, Trustee
                                                64541 Van Dyke, Suite 101B
                                                Washington Township, MI 48095
                                                (586) 281-3764
                                                tmiller@schneidermiller.com




  09-48174-swr      Doc 79     Filed 03/12/12       Entered 03/12/12 13:49:39    Page 2 of 2
